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 7                                    UNITED STATES DISTRICT COURT
 8                                             DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                               )       Case No. 2:15-cr-00069-JCM-NJK
10                                                           )
                               Plaintiff(s),                 )       ORDER
11                                                           )
     vs.                                                     )
12                                                           )
     BING HAN,                                               )
13                                                           )
                               Defendant(s).                 )
14                                                           )
15              On May 19, 2015, Matthew Callister filed a notice of appearance in this case indicating that he
16   is representing Defendant Bing Han. Docket No. 41. On July 29, 2015, Suneel Nelson also filed a
17   notice of appearance. Docket No. 64.1 In criminal cases, private attorneys representing defendants must
18   file a designation of retained counsel that complies with Local Criminal Rule 44-2. Accordingly, Mr.
19   Callister and Mr. Nelson shall each file, no later than August 5, 2015, a designation of retained counsel
20   that complies with Local Criminal Rule 44-2. The notices of appearance filed at Docket Nos. 41 and
21   64 are hereby STRICKEN.
22              IT IS SO ORDERED.
23              DATED: July 30, 2015
24                                                    ______________________________________
                                                      NANCY J. KOPPE
25                                                    United States Magistrate Judge
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27             The body of this notice indicates that Mr. Nelson will be representing Defendant Bing Han. See
     Docket No. 64. Nonetheless, the notice was docketed by counsel as indicating that he will be representing
28   all three Defendants in this case. Counsel must ensure that they properly file documents in the future.
